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                            SYNOPSIS – COMPLAINT

                          United States v. Benjamin Conroy
                                 2:21-mj-00277-JHR

Name:                               Benjamin Conroy

Address:                            Portland, ME
(City & State Only)

Year of Birth and Age:              1989 (32 years old)

Violations:                         Count 1:         Sexual exploitation of a minor.
                                                     18 U.S.C. § 2251(a).

                                    Count 2:         Transportation of child pornography.
                                                     18 U.S.C. § 2252A(a)(1).

Penalties:                          Count 1:         Class B felony. Not less than 15 years
                                                     and not more than 30 years
                                                     imprisonment, and/or not more than a
                                                     $250,000 fine.
                                                     18 U.S.C. § 2251(e).

                                    Count 2:         Class C felony. Not less than 5 years
                                                     and not more than 20 years
                                                     imprisonment, and/or not more than a
                                                     $250,000 fine.
                                                     18 U.S.C. § 2252A(b)(1).

Supervised Release:                 Counts 1 & 2:    At least 5 years, maximum of life.
                                                     18 U.S.C. § 3583(k).
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Maximum Term of Imprisonment for        Count 1:           Not more than 3 years.
Violation of Supervised Release:                           18 U.S.C. § 3583(e)(3).

                                                           But if Defendant is required to register
                                                           under the Sex Offender Registration
                                                           and Notification Act and commits an
                                                           offense under Chapter 109A, 110, 117,
                                                           or section 1201 or 1591, for which
                                                           imprisonment for a term longer than 1
                                                           year can be imposed, the court shall
                                                           revoke supervised release and impose
                                                           a term of imprisonment of not less than
                                                           5 years.
                                                           18 U.S.C. § 3583(k).


                                        Count 2:           Not more than 2 years.
                                                           18 U.S.C. § 3583(e)(3).

                                                           But if Defendant is required to register
                                                           under the Sex Offender Registration
                                                           and Notification Act and commits an
                                                           offense under Chapter 109A, 110, 117,
                                                           or section 1201 or 1591, for which
                                                           imprisonment for a term longer than 1
                                                           year can be imposed, the court shall
                                                           revoke supervised release and impose
                                                           a term of imprisonment of not less than
                                                           5 years.
                                                           18 U.S.C. § 3583(k).

Maximum Additional Term of              Counts 1 & 2:      Life.
Supervised Release for Violation of                        18 U.S.C. § 3583(k).
Supervised Release:
Defendant’s Attorney:                   TBD

Primary Investigative Agency and Case   Homeland Security Investigations
Agent Name:                             Special Agent David Pawson

Detention Status:                       In State Custody

Foreign National:                       No

Foreign Consular Notification Provided: N/A
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County:                               Cumberland

AUSA:                                 Sheila W. Sawyer

Guidelines apply? Y/N                 Yes

Victim Case:                          Yes

Corporate Victims Owed Restitution:   N/A

Assessments:                          $100 per count.
                                      18 U.S.C. § 3013(a)(2)(A).

                                      Not more than $35,000.
                                      18 U.S.C. § 2259A(a)(2).

                                      $5000, if Defendant is found to be non-indigent.
                                      18 U.S.C. § 3014(a).
